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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF ALABAMA
                          EASTERN DIVISION

ALEXANDRIA H. QUINN,                                   )
                                                       )
            Plaintiff,                                 )
                                                       )
      V.                                               )   Case No. 1:14-cv-1033-ALB
                                                       )
CITY OF TUSKEGEE, ALABAMA,                             )
and LEVY KELLY,                                        )
                                                       )
            Defendants.                                )
                                                       )
                                                       )
                                                       )
                                                       )



  OFFICIAL JURY VERDICT FORM-PLAINTIFF QUINN'S CLAIMS
              AGAINST THE CITY OF TUSKEGEE


I. Sexual Assault: Regarding Plaintiff Alexandria Quinn's constitutional right to
bodily integrity/to be free from sexual assault by a law enforcement officer, do you
find from a preponderance of the evidence:

   1. That Levy Kelly intentionally committed acts that violated Alexandria
      Quinn's right to bodily integrity/to be free from sexual assault by a law
      enforcement officer?

      Answer.Yes or No:           Ve$"
                          - - - - - ,'---=--'<--



      If your answer is "No," this ends your deliberations with respect to this
      section, and you should go on to section IL If your answer is "Yes," go to the
      next question.

   2. That Levy Kelly's actions were under color of state law?
                                                   1
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     Answer Yes or No: _ _..,..ji.....~....-S:~

     If your answer is "No," this ends your deliberations with respect to this
     section, and you should go on to section IL If your answer is "Yes," go to the
     next question.

3. That Levy Kelly's actions caused injury to Plaintiff Alexandria Quinn?

                           Ye1
     Answer Yes or No: --+-,--=--

     If your answer is "No," this ends your deliberations with respect to this
     section, and you should go on to section IL If your answer is "Yes," go to the
     next question.

4.

     4a. That Levy Kelly's actions were taken in accordance with official policy or
     custom of the City of Tuskegee?

             Answer Yes or No:               /)0
                                        _...___   __
     4b. That Levy Kelly's actions were taken because of a failure by the City to
     adequately supervise Kelly?

             Answer Yes or No:                J?O
     Please answer both 4a and 4b. If you answered "No" to both 4a and 4b, then
     this ends your deliberations with respect to this section and you should move
     to section Ii. If you answered "Yes" to either 4a or 4b, then go to the next
     question.

5. What amount of money if any is appropriate to fully and reasonably
   compensate for Plaintiff Alexandria Quinn's injuries regarding sexual
   assault?
             $--........,.-....,,,..,---,-------

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II. Excessive Force: Regarding Plaintiff Alexandria Quinn's constitutional right
not to be subjected to excessive or unreasonable force while being arrested by a
law enforcement officer, do you find from a preponderance of the evidence:


   1. That Levy Kelly intentionally committed acts that violated Quinn's right to
      be free from excessive force during arrest?

        Answer Yes or No:              VAf
                                   /

        If your answer is "No," then this ends your deliberations with respect to this
        section and you should sign and date this verdict form. If your answer is
        "Yes," go to the next question.

   2. That Levy Kelly's actions were under color of state law?

        Answer Yes orNo: __y~'e&="'--

        Ifyour answer is "No," then this ends your deliberations with respect to this
        section and you should sign and date this verdict form. If your answer is
        "Yes," go to the next question.

   3. That Levy Kelly's actions caused injury to Plaintiff Alexandria Quinn?

        Answer Yes or No:          yt:..5
        If your answer is "No," then this ends your deliberations with respect to this
        section and you should sign and date this verdict form. If your answer is
        "Yes," go to the next question.

   4.
        4a. That Levy Kelly's actions were taken in accordance with official policy or
        custom of the City of Tuskegee?

        Answer Yes or No: _ _/2. . .(2.,_____

                                                3
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         4b. That Levy Kelly's actions were taken because of a failure by the City to
         adequately supervise Kelly?

         Answer Yes or No: _ __./)c,,..i~--

         Please answer both 4a and 4b. If you answered "No" to both 4a and 4b, then
         this ends your deliberations with respect to this section and you should sign
         and date this verdict form. If you answered "Yes" to either 4a or 4b, then go
         to the next question.

     5. What amount of money if any is appropriate to fully and reasonably.
        compensate for Plaintiff Alexandria Quinn's injuries regarding excessive
        force?
                    $_ _ _ _ _ _ __




                                              SO SAY WE ALL.




                                              Foreperson
Dated: _ .......3/'/4.......,,.._,,0~/_ _




                                                4
